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 6                       IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
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 9    Frank Jarvis Atwood,                               No. CV-22-00625-PHX-JAT (JZB)
10                  Plaintiff,                           ORDER
11    v.
12    David Shinn, et al.,
13                  Defendants.
14
15          Defendants filed a Motion to Dismiss this action arguing it is “not ripe for
16   adjudication.” (Doc. 19). The Court set a briefing schedule as to the motion to dismiss

17   and the pending motion to consolidate. Upon further review of the motion to dismiss, it
18   appears as though Defendants intend to provide Plaintiff with up to two hours with his

19   chosen religious advisor on the day of but prior to his execution to facilitate any religious

20   practice or exercise he chooses. (Doc. 19 at 6 (“Atwood is free to reserve two hours with
21   his spiritual advisor on the morning of his execution and ADCRR will accommodate that
22   request.”). Because Plaintiff requested one hour in his Amended Complaint for his tonsure

23   to be performed in addition to the administration of last rites, it appears there is sufficient

24   time for his request to be satisfied. That said, because of the time-sensitive nature of this

25   action, the Court will ensure both parties understand the terms of any agreement they may

26   reach so that any confusion will not result in a last-minute request for relief. This includes
27   any agreement regarding any tools to be used for any religious practices.
28          IT IS THEREFORE ORDERED that if Defendants agree to accommodate
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 1   Plaintiff’s religious exercise requests before and during his execution, the parties must also
 2   submit to the Court a proposed form of injunction delineating the specific parameters of
 3   any religious visits prior to Plaintiff’s execution and conduct during Plaintiff’s execution.
 4   If Defendants have agreed to facilitate Plaintiff’s requests, that proposed form of injunction
 5   must be filed no later than Tuesday, May 31, 2022. If Defendants have not agreed to
 6   facilitate Plaintiff’s requests, they must file a Notice indicating where the parties disagree.
 7          Dated this 25th day of May, 2022.
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